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DISTRICT 0F1DAH0_ gov Fned___:.\nme

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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA, -' ;-, 7 f f 1 \ -
CaSeNO_ CH_ ibmo_abg. aan_w

Plaintiff,
INDICTMENT
VS. l
_ 21 U.S.C. §§ 84l(a)(1) and (b)(l)(C) and 853
TETYANA VASILEVNA ANDRIYCHUK,

 

Defendant.

 

The Grand Jury chal'ges:
M

Distributing Heroin
21 U.S.C. § 841(3)(1) and (b)(l)(C)

On or about October 5, 2016, in the District of Idaho, the defendant, TETYANA
VASILEVNA ANDRIYCHUK, did knowingly and intentionally distribute heroin, a Schedule I

controlled substance, in Violation of Title 21, United States Code, Section 841(a)(1) and

(b)(l)(C)-

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CRIMINAL FORFEITURE ALLEGATION

 

Drug Forfeiture
21 U.S.C. § 853

Upon conviction of the offense alleged in Count One of this lndictment, the defendant,
TETYANA VASILEVNA ANDRIYCHUK, shall forfeit to the lUnited States any and all
property, real and personal, tangible and intangible, consisting or derived from any proceeds the
said defendant obtained directly or indirectly as a result of the foregoing offenses ; and any and
all propeity, real and personal, tangible and intangible, used or intended to be used, in any
manner or part, to commit, or to facilitate the commission of, the foregoing offense. The property

to be forfeited includes, but is not limited to, the following:

l. Unrecovered Cash Proceeds and/or Facilitating Propertv. The defendant obtained
and controlled unrecovered proceeds of the offense of conviction, or property derived from or
traceable to such proceeds, and property the defendant used to facilitate the offense (if
facilitation is alleged), but based upon actions of the defendant, the property was transferred,
diminished, comingled, or is otherwise unavailable

2. Substitute Assets. Pursuant to 21 U.S.C. § 853(p) and other applicable statutes,
the government will seek forfeiture of substitute assets, “or any other property of the defendant”
up to the value of the defendant’s assets subject to forfeiture The government will do so when

the property subject to forfeiture cannot be forfeited for one or more of the following reasons:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third person;
c. .Has been placed beyond the jurisdiction of the court;

d. Has been substantially diminished in value; or

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e. Has been commingled With other property which cannot be subdivided
without difficulty.
Dated this l¢= day of August, 2018.

A 'I`RUE BlLL

/s/ [signature on reverse]

 

Foreperson

BART M. DAVIS
United States Attomey
By:

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Christian S. Nafzgef
Assistant United States Attorney

 

 

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